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                                                                                   FILED
                                                                                   District Court

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     5    Attorney For Plaintiffs
     6
                                             UNITED STATES DISTRICT COURT
     7

     8                                 FOR THE NORTHERN MARIANA ISLANDS

     9

     10
                                                                      QL        18-0003
          TIANMING WANG,DONG HAN,YONGJUN                            CIVIL ACTION NO. 18-
     11
          MENG,LlANGCAl SUN,YOULI WANG,
     12   QINGCHUN XU,and DUXIN YANG,
                                                                    COMPLAINT
     13
                                             Plaintiffs,
     14
                          vs.
     15

     16

     17   GOLD MANTIS CONSTRUCTION
          DECORATION (CNMl), LLC,
     18
                                             Defendant.
     19
                                                           INTRODUCTION
     20

     21

     22
                  1.      Plaintiffs are six men from China who paid large fees based on promises ofhigh-paying

     23
          constructionjobs in Saipan. Instead,their employer Gold Mantis - one ofthe firms hired to construct the

     24
          Imperial Pacific casino - forced them to labor for long hours for below minimum wage under extremely
          dangerous conditions.
     25

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 1          2.      The Imperial Pacific construction site had an injury incidence rate above the national
 2 average. There were safety violations in plain sight, and employees received neither adequate training
 3 nor protective equipment. Rather than seek to improve conditions on the worksite,Imperial Pacific and
 4 its contractors sought to conceal the severity of the problem from government authorities, medical
 5 providers, and any other party that might hold them accountable.
6           3.      Each ofthe Plaintiffs suffered a physical injury while working as an employee of Gold
 7 Mantis,including a badly burnt leg,scalded hand,and partially severed finger.Notonly did Gold Mantis
 8 refuse to take the injured workers to the hospital, but in order to keep hidden their own illegal practices,
 9 also threatened Plaintiffs that they risked being arrested ifthey sought medical attention on their own.
10 Thus, Plaintiffs were left to care for these injuries on their own.
11          4.      Gold Mantis never purchased workers compensation insurance for these employees.
12 Despite the fact that Plaintiffs sustained serious and severe injuries, missed time from work, and paid
13 medical expenses out of their own pockets. Gold Mantis never compensated them a penny for the
14 injuries they suffered at work. Even after Plaintiffs' attorneys contacted Gold Mantis concerning the
13 injuries. Gold Mantis still denied that the workers were its employees and refused to take any
1^ responsibility. Accordingly,Plaintiffs now bring this action seeking compensation for the multitude of
17 damages stemming from those injuries.
18                                              JURISDICTION
19          5.      This Court has jurisdiction pursuant to the provisions of28 U.S.C. § 1332(a)(2).
20                                                   VENUE
21          6.      Venue is proper, pursuant to 28 U.S.C. § 1391(b)(2), because the events giving
     rise to this cause of action occurred in the Commonwealth ofthe Northern Mariana Islands.
23                                                  PARTIES
            7.      Plaintiff Tianming Wang(Mr. Tianming Wang)is a resident and citizen ofthe People's
^3 Republic of China.
23       8.      PlaintiffDong Han(Mr.Han)is a resident and citizen ofthe People's Republic ofChina.
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 1            9.    PlaintiffYongjun Meng(Mr. Meng)is a resident and citizen ofthe People's Republic of
 2   China.

 3            10.   Plaintiff Liangcai Sun (Mr. Sun) is a resident and citizen of the People's Republic of
 4   China.

 5            11.   PlaintiffYouli Wang(Mr.Youli Wang)is a resident and citizen ofthe People's Republic
6    of China.

 7            12.   Plaintiff Duxin Yang(Mr. Yang)is a resident and citizen of the People's Republic of
 8   China.

 9            13.   Mr. Tianming Wang,Mr. Han, Mr. Meng, Mr. Sun, Mr. Youli Wang,Mr. Xu, and Mr.
10 Yang are referred to collectively as "Plaintiffs".
11            14.   Defendant Gold Mantis Construction Decoration (CNMI), LLC (hereinafter, "Gold
12 Mantis")is, and was at all time relevant hereto, a limited liability company created and existing under
13 CNMI law with its principle office located in Saipan, CNMI.
14            15.   On information and belief. Gold Mantis CNMIis a wholly owned subsidiary ofan entity
15 in China (hereinafter, "Gold Mantis China") named either Gold Mantis (Intemational) Construction
16 Decoration Limited, Gold Mantis (China) Construction Decoration Limited, or Suzhou Gold Mantis
17 Construction Decoration Co., Ltd.
18            16.   On information and belief. Gold Mantis China is a public company traded on the
19 Shenzhen stock exchange.
20       17. On information and belief, towards the end of2015, Gold Mantis China invested U.S.
21 $30 million into a subsidiary entity in Saipan.
22                                                   FACTS
23                                          Company background
24            18.   Imperial Pacific Intemational(CNMI),LLC(hereinafter,"Imperial Pacific")was granted
     an exclusive license to build casino resorts in Saipan, CNMI.The first ofthese was to be built on a site
^6 in Garapan on the island of Saipan ("Casino Worksite").
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 1           19.    Imperial Pacific hired multiple Chinese construction companies to perform the work on
 2 the casino resort in Garapan.
 3          20.     On information and belief, Gold Mantis signed an agreement with Imperial Pacific for
4 $160 million to perform certain work on the Casino Worksite project.
 5          21.     Other construction companies hired by Imperial Pacific for the project include MCC
6 Intemational Saipan Ltd.Co.("MCC"),BeilidaNew Materials System Engineering Co.Ltd.("Beilida"),
 7 and Sino Great Wall Intemational Engineering Co. LLC.
 8                                  Plaintiffs' employment by Gold Mantis
 9          22.     Gold Mantis employed roughly 500 Chinese constmction workers for the Casino
10 Worksite project, including Plaintiffs.
11          23.      Many ofthese Chinese construction workers,including Plaintiffs,paid large recruitment
12 fees based on the promise ofgood jobs in Saipan.
13          24.     In order to get the job with Gold Mantis, several Plaintiffs were required to pay an
14 additional fee out oftheir own pocket to their supervisor.
15          25.     Plaintiffs were provided shirts and hardhats that said "Gold Mantis" on them.
16          26.      Gold Mantis set Plaintiffs' work schedule and assigned their work duties.
17          27.      Gold Mantis set Plaintiffs'rate ofpay and decided whether, when,and how to pay them.
18          28.      Gold Mantis arranged Plaintiffs' housing, meals, and transportation to and from the
19 worksite.
20          29.      Gold Mantis maintained records conceming Plaintiffs' work, including the number of
21 days worked by each Plaintiff.
22        30. Gold Mantis had the power to hire, fire, and discipline Plaintiffs.
23          31.     Plaintiffs worked for Gold Mantis under abusive and exploitative conditions.
            32.      A Gold Mantis manager in charge of safety on the site, Mr. Wang Xiong Liu, was
     regularly present on the site where Plaintiffs worked,frequently told Plaintiffs to pay attention to safety,
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 1   and on several occasions made statements at meetings attended by Plaintiffs that the company would not
2 be responsible for workers on tourist visas if they got injured on the job.
 3          33.     One particular Gold Mantis supervisor, Xianghu Kong ("Supervisor Kong") often
4    screamed at Plaintiffs.

 5          34.     In several cases, Supervisor Kong summarily fired workers in anger over a single
6 incident, such as where an employee took a rest during work.
 7          35.     Supervisor Kong intimidated workers by threatening to physically harm any employee
 8 who challenged or was not entirely obedient to him.
9           36.     Plaintiffs and their coworkers regularly worked 12 or more hours per day.
10          37.     Plaintiffs were required to work shifts of approximately 24 hours on occasion.
11          38.     Gold Mantis systematically paid workers less than the minimum wage required under
12 applicable laws.
13          39.     Gold Mantis did not keep accurate records of the hours worked by its employees as
14 required by law.
15          40.     In or around March 2017,after federal government authorities such as the Federal Bureau
16 ofInvestigation,began investigating various contractors on the casino project. Gold Mantis abandoned
17 Plaintiffs and their coworkers on Saipan. Gold Mantis managers and supervisors returned to China while
1^ Plaintiffs and their coworkers were left unpaid in their inadequate housing and without food and water.
19         41. After some supervisors had fled, Mr. Wei Yuan of Gold Mantis came to the workers'
29 dormitory to discuss the number ofdays they had worked and unpaid wages still owed to them.
21        42. After numerous protests by Plaintiffs and other employees. Gold Mantis eventually
     reached a settlement with the U.S. Department ofLabor in which it agreed to pay millions ofdollars to
25 Plaintiffs and their coworkers for wage and hour violations that occurred during their employment.
24                         Gold Mantis' disregard for the safety of its employees
25         43. Gold Mantis showed a reckless disregard for safety conditions on the worksite and the
2^ safety or well-being ofits employees,including Plaintiffs.
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 1         44.     Gold Mantis did not provide Plaintiffs with adequate training to perform theirjobs safely.
2          45.     Gold Mantis did not provide Plaintiffs with the proper protective equipment to perform
3 their jobs safely.
4          46.     Gold Mantis did not purchase workers compensation insurance on behalfofPlaintiffs.
 5         47.     Gold Mantis did not post required notices regarding workers compensation in or about
6 the workplace, nor did it make any other effort to inform its employees oftheir right to compensation
 7 for injuries sustained at work.
 8         48.     Instead,Gold Mantis told its workers that the company would not have any responsibility
9 ifthey got injured because they were in Saipan illegally.
10         49.     Gold Mantis did not file the legally required reports with government authorities upon
11 discovering that Plaintiffs or other employees sustained injuries at work, and thus did not provide
12 Plaintiffs with copies of any such reports as required by law.
13          50.    Gold Mantis did not provide or arrange medical care for Plaintiffs and their coworkers
14 who sustained injuries at work.
15          51.    Gold Mantis threatened Plaintiffs by stating that ifthey sought out medical care on their
16 own,they could face deportation or other troubles with the immigration authorities.
12       52. Gold Mantis systematically discouraged its employees from contacting government,
18 medical or other authorities outside ofthe company,including by telling them that they were in Saipan
19 illegally and could be arrested or deported at any time.
29                     Gold Mantis knew of the unsafe conditions on the worksite
2^                                   but failed to respond appropriately
22        53. Gold Mantis knew of the unsafe conditions on the Casino Worksite, but failed to take
23 appropriate actions to remedy the situation and ensure the safety ofits employees.
24        54. There was a massive number of injuries on the Casino Worksite as untrained and
25 inexperienced workers were being pushed to work round-the-clock under unsafe conditions.
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 1          55.       As reported in the Saipan Tribune and elsewhere, in February 2016, one MCC worker
2 on the Casino Worksite had his leg crushed after a pipe that was not properly secured fell from a crane.
 3          56.       As reported by Bloomberg, the Casino Worksite was filled with widespread dangers:
4 including that generators weren't properly grounded, workers were missing basic equipment such as
5 safety glasses and correct footwear, and welders lacked anything like the necessary training to handle
6    torches.

7           57.       On December 4, 2016, MCC reported to the Occupational Safety and Health
 8 Administration (hereinafter,"OSHA")that a worker on the Casino Worksite died of a heart attack.
9           58.       On December 6,2016, a Compliance Safety and Health Officer (hereinafter,"CSHO")
10 from OSHA went to the Casino Worksite to investigate claims of a large number of workers being
11 seriously injured and a reported worker death due to a heart attack.
12          59.       When the CSHO approached the Casino Worksite, he was able to observe workers
13 exposed to fall hazards because they were climbing between levels of scaffolding without continuous
14 fall protection.
15         60. The CSHO explained his intention to inspect the Casino Worksite to representatives of
16 the construction companies on the project, including Gold Mantis, but was denied access to the site.
17          61.       According to assistant U.S. attorney James J. Benedetto,the inspection was prompted by
1^ "an online complaint by a doctor working at the Commonwealth Health Center's emergency room
19   reporting serious injuries at the project on a daily basis."
70           62. As part ofan application seeking a warrant for OSHA to inspect the worksite,the CSHO
71   filed an affidavit,dated December 15,2016("OSHA Affidavit"),which included aspreadsheetreflecting
77   approximately 80 serious injuries from the worksite logged at the hospital on Saipan("CHCC")from
73   January 1 to December 6,2016. The causes ofthe injuries and number ofpeople injured by each cause
74   included: hit by moving/falling item(43);fall from height ofone to twenty meters(9);injured by power
73   tool(12); cut by metal/wood(7); pain after lifting(2); stepped on nail(3); infected wound (1); stepped
76   in hole (1); twisted ankle (1); electrocution (1).
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 1            63.   The OSHA Affidavit stated that based on this information,the incident rate for injuries
 2 on the Casino Worksite "greatly exceeds" the national average.
 3            64.   The OSHA Affidavit described a report by a treating physician at CHCC that after
 4 someone from the worksite fell and broke his back,and the physician recommended that he be admitted
 5 and not transported,the injured person was not allowed to be admitted and was promptly transported to
 6   China.

 7            65.   Even when presented with all ofthis evidence,OSHA was still initially refused entry onto
 8 the worksite to conduct an inspection.
 9            66.   OSHA eventually conducted an inspection ofthe Casino Worksite from December 16-22,
10   2016.

11            67.   During this inspection, OSHA found no less than twenty "serious violations" by MCC,
12 Beilida, and Gold Mantis and proposed fines totaling over $191,000.
13            68.   OSHA issued four citations against Gold Mantis for "serious" violations of federal
14 workplace safety rules based on observations made on December 16,2016. The violations included(1)
15 failure to provide required eye and face protection for employees using a metal cut-offsaw;(2)failure
16 to properly store large steel beams,which were stacked in way that could easily fall and strike workers;
17 (3)failure to protect workers from strike-by hazards by permitting the use of a frayed rope to lift large
1^ steel beams; and(4)failure to take proper steps to prevent injuries caused by a drill press to its operator
19 and nearby workers.
20        69. OSHA issued numerous citations against MCC for violations offederal workplace safety
21 rules,including; the presence ofholes that were not covered and people could fall through; multiple fall
     hazards, such as unsecured and unsafe scaffolding; and failing to use compliant reporting forms.
23            70.   One ofthe OSHA citations against MCC identifies seven workers who were injured in
24 just a three-week period but for whom MCC made no record oftheir injury and did not report the case
25 to OSHA. These injuries included a cut finger from operating a saw that resulted in amputation and
26 several injuries of workers struck by heavy metal objects.
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 1             71.   OSHA issued numerous citations against Beilida for violations of federal workplace
 2 safety rules, including: failure to properly store compressed gas cylinders; operating torch equipment
 3 with broken oxygen gauge needles; multiple fall hazards; permitting workers to walk under a crane with
4 a cart of compressed gas cylinders; and failing to use compliant reporting forms.
 5             72.   Even after the OSHA inspection, Gold Mantis and the construction companies on the
6 Casino Worksite project failed to adequately address the dangerous,illegal conditions on the worksite.
 7             73.   Even after the OSHA inspection, severe injuries continued to occur,including the death
 8 of at least one worker on March 22,2017.
9              74.   The worker fatality on March 22,2017 prompted an additional investigation by OSHA,
10 which resulted in citations against Beilida for five "serious" safety violations, including improper
11 planking, missing toe boards, missing X bracing, and improper stair treads.
12                                            Plaintiffs* injuries
13                                              Tianming Wang
14             75.   On or about February 20, 2017, Mr. Tianming Wang began his employment with Gold
15 Mantis working on the Casino Worksite.
16        76. In the evening of March 17, 2017, Mr. Tianming Wang was at the construction site
1^ cutting a long piece ofsteel with a torch.
18             77.   The sparks produced by his cutting work ignited a substance in a nearby overturned
19 barrel. The substance in the barrel exploded and a flame shot out ofthe barrel, engulfing Mr.Tianming
     Wang's lower left leg.
21       78. The fire and the explosion incinerated Tianming Wang's pant leg and caused horrific
22 bums on his lower left leg.
23       79. Mr. Tianming Wang was in excmciating pain and in need of immediate medical
     assistance.

25             80.   Gold Mantis supervisors and agents were on site at the time of Mr. Tianming Wang's
26   injury.

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 1          81.     After learning ofMr.Tianming Wang's injuries, Gold Mantis refused to take him to the
 2 emergency room,call for emergency medical assistance,or arrange any other form ofmedical attention.
 3          82.     Mr. Tianming Wang was never provided any medical assistance by or through Gold
 4   Mantis.

 5          83.     Gold Mantis officials told Mr. Tianming Wang that, because he was working in Saipan
6 illegally, he could be arrested if he went to the hospital.
 7          84.     Instead of arranging any form of medical attention. Gold Mantis transported Mr.
 8 Tianming Wang back to the dormitory and left him to tend to his injuries himself.
 9          85.     Mr. Tianming Wang was unable to work after his injury.
10          86.     Mr.Tianming Wang spent hundreds ofdollars ofhis own money to purchase medication
11 to address his injury and pain.
12          87.     Mr. Tianming Wang's physical injury, the fear of immigration authorities, and despair
13 ofbeing unable to obtain adequate medical attention caused him an acute degree ofanxiety and distress.
14       88. To this day, Mr. Tianming Wang still suffers from pain in his lower left leg, which still
15 has not fully healed.
16        89. Mr. Tianming Wang's extreme hums have resulted in severe scarring and permanent
17 disfigurement.
18          90.     Mr. Tianming Wang's inability to use his left leg for many months has resulted in a
19 weakening of his left leg, muscular imbalances, and a limp that he fears could be permanent.
20          91.     At the Casino Worksite, Gold Mantis did not take appropriate precautions for the sort of
21 work that Mr.Tianming Wang wasrequired to perform.Overtumed barrels containing highlyflammable
     substances were left haphazardly about the site.
23          92.     Gold Mantis did not provide Mr. Tianming Wang with necessary training or safety
     equipment for working with a cutting torch.
            93.     Gold Mantis never compensated Mr.Tianming Wang for his injuries,and never provided
26 him with any pay for the time that he was unable to work.
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 2                                               Dong Han
 3          94.    On or about February 20, 2017, Mr. Han began his employment with Gold Mantis
 4 working on the Casino Worksite.
 5          95.    On or about March 17,2017,Mr.Han was loading heavy,metal pipes with other workers
 6 when the stack of pipes shifted.
 7          96.    The pipes crushed Mr.Han's pinky finger on his right hand causing severe pain,swelling,
 8 and bruising.
 9          97.    Gold Mantis supervisors and agents were on site at the time of Mr. Han's injury.
10          98.    After learning of Mr. Han's injuries. Gold Mantis refused to take him to the emergency
11 room,call for emergency medical assistance, or arrange any other form of medical attention.
12          99.    Mr. Han was never provided any medical assistance by or through Gold Mantis.
13          100. Instead ofarranging any form ofmedical attention. Gold Mantis told him to return to the
14 dormitory and rest.
15          101.   Mr. Han was unable to work for a period oftime after his injury.
16          102. As a result ofhis injuries, Mr. Han has suffered severe pain, a long and painful recovery
12 and rehabilitation process, and still suffers from weakness and diminished use of his right hand.
18          103. After the accident, Mr. Han was emotionally shaken, with these feelings only amplified
19 by the mistreatment and lack of care by Gold Mantis.
20         104. Mr. Han's physical injury, concern about earning an income, fear of authorities, and
21 despair ofbeing unable to obtain adequate medical attention caused him an acute degree ofanxiety and
22 distress.
23          105. At the worksite. Gold Mantis did not take appropriate precautions for the sort of work
24 that Mr. Han was required to perform, such as appropriately stacking steel beams on the construction
25 site.
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 1             106.   Gold Mantis never compensated Mr. Han for his injuries, and never provided him with
 2 any pay for the time that he was unable to work.
 3                                              Yongjun Meng
 4             107.   On or about February 14, 2017, Mr. Meng began his employment with Gold Mantis
 5 working on the Casino Worksite.
 6             108.   Mr. Meng was recruited as a construction worker, but Defendant transferred him to
 7 kitchen duty on or around February 26,2017. Mr. Meng was not provided with any training for this new
 8 position.
 9             109. In or around early March 2017, Mr. Meng and two other kitchen workers were loading
10 a large vat ofsoup onto a vehicle for transport to the construction site. The soup was extremely hot and
11 the vat was very heavy. As the workers were lifting the vat into the vehicle, the soup spilled onto Mr.
12 Meng,causing severe bums to his left hand and left leg.
13             110.   Mr. Meng was in incredible pain and requested that Gold Mantis arrange immediate
14   medical attention.
13             111.   Gold Mantis refused to take Mr. Meng to the emergency room or call for emergency
16 medical assistance. Further,the company told him not to go to the hospital because ofhis xmdocumented
     status.

18             112. Mr. Meng went to a clinic, where he was given a shot and medicine for the bum.
19        113. Mr. Meng purchased a cream from the Chinese supermarket to ease his pain on multiple
20 occasions, costing him hundreds of U.S. dollars.
21             114. Mr. Meng was xmable to work after his injury due to the tremendous pain.
22             115. Prior to his bums healing. Gold Mantis dispatched Mr. Meng's coworker to tell him that
23 he was required to retum to work, even though he was still physically unable to do so.
24        116. The injuries to Mr. Meng's hand rendered him unable to work for months and his severe
23 bums caused him a great deal ofpain and suffering. He still suffers from diminished use ofhis left hand.
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 1          117.   Mr. Meng's physical pain, the fear of immigration authorities, concern of his growing
 2 debts from not earning income and spending money on medical care, and despair of being unable to
 3 obtain adequate medical attention caused him an acute degree of anxiety and distress.
4           118.   At the work site. Gold Mantis did not take appropriate safety precautions for the work
 5 that Mr. Meng was required to perform. Gold Mantis did not provide adequate equipment or manpower
6 to transport the large vats ofscalding hot soup. Mr. Meng was not provided with appropriate gloves or
 7 other protective safety equipment for dealing with the hot items. Moreover,the container ofboiling hot
 8 soup was not appropriately secured to avoid spilling.
 9          119.   Gold Mantis never compensated Mr. Meng for his injuries, and never provided him with
10 any pay for the time that he was unable to work.
11                                             Liangcai Sun
12          120.   Mr. Sun began working for Gold Mantis on or aroimd January 16,2017.
13          121.   On or around January 26, 2017, while working in what is now the lobby area of the
14 Imperial Pacific casino, Mr. Sun and another employee were transporting large, heavy boxes. Mr. Sun
15 was attempting to lift and move the box with another worker when it became unsteady.The box fell onto
16 Mr. Sun's left hand, smashing his index finger.
17        122. Mr.Sun was in incredible pain;his finger was bleeding and his hand swelling.The injury
18 caused a partial amputation ofthe finger.
19        123. Gold Mantis supervisors and agents were on site at the time of Mr. Sun's injury.
20          124. After learning of Mr. Sun's injuries. Gold Mantis refused to take him to the emergency
21 room,call for emergency medical assistance, or arrange any other form of medical attention.
22       125. Mr. Sun was never provided any medical assistance by or through Gold Mantis.
23       126. Instead, Mr. Sun's supervisor told him to go home and rest.
24       127. A co-worker assisted Mr. Sun by purchasing some medicine and a gauze bandage.
26       128. The next day, due to the unbearable pain, Mr. Sun went on his own to the Marianas
26 Medical Center. He weis required to go back for numerous appointments and was told to consult a hand
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 1   surgeon. He paid hundreds of dollars of his own money for the consultation alone. However, Mr. Sun
2 was unable to afford the suggested x-ray for his hand.
 3          129.    Mr. Sun was not able to work after the injury to his hand.
4           130.    The incident resulted in the total loss of his fingernail.
 5          131.    Later on, a doctor at CHC told him that he needed to consult a surgeon concerning the
6 possible need to amputate the tip of his left index finger.
 7          132.    Upon his retum to China, medical providers there told Mr. Sun that he requires further
 8   surgery.

 9          133.    To this day,Mr.Sun deals with alternating pain and numbness in his finger, which could
10 permanently affect his usage of his hand and his ability to work.
11          134.    As a result ofhis injuries, Mr. Sun has suffered severe pain, a long and painful recovery
12 and rehabilitation process,and still suffers from diminished use ofhis left hand. The partial amputation
13 ofthe tip ofhis left index finger caused by the accident has resulted in what could be permanent damage
14 and disfigurement. After the accident, Mr. Sun was emotionally shaken, with these feelings only
15 amplified by the lack ofcare and mistreatment at the hands ofGold Mantis.To date, Mr.Sun still suffers
16 from continued pain and suffering and diminished use of his left hand.
17        135. Mr. Sun's physical suffering, trepidation about being arrested or deported, dispair ofhis
1^ growing debts,and sense ofhelplessness from being unable to obtain adequate medical attention caused
19 him an acute degree of anxiety and distress.
20        136. Gold Mantis never compensated Mr. Sun for his injury, his inability to work, or his
21 medical expenses, which reached over one thousand U.S. dollars.
22                                           Youli Wang
23        137. Mr. Youli Wang began working for Gold Mantis in or around November 2016.
24        138. On or about January 20, 2017, while Mr. Youli Wang was loading beams ofsteel onto
     a piece of plywood (to then be loaded with a forklift), he and other workers sat on top of the load to
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 1   balance it. As the load was lifted,the pljwood snapped,sending the load ofsteel and the workers falling
2    to the ground.This caused the steel pieces to shift, smashing his left hand,fracturing his left ring finger.
3            139.    Mr. Youli Wang was immediately in extreme pain. His finger began swelling and
4    bleeding profusely. His fingernail was torn completely offof his finger.
5            140.    Gold Mantis supervisors and agents were on site at the time ofMr.Youli Wang's injury.
6            141.    Despite Mr. Youli Wang's injuries. Gold Mantis refiised to take him to the emergency
7    room, call for emergency medical assistance, or arrange any other form of medical attention.
8            142.    Mr. Youli Wang was never provided any medical assistance by or through Gold Mantis.
9            143.    When he finally was brought (not by Gold Mantis) to CHC many months after his
10   accident,the physician confirmed the fracture ofhis finger and that the fingernail was now growing into
11   his hand, causing him pain.
12           144.    As a result ofhis injuries, Mr. Youli Wang has suffered severe pain, a long and painful
13   recovery and rehabilitation process,and still suffers from diminished use ofhis left hand.His finger still
14   has not healed completely and may require treatment from a specialist. After the accident, he was
15   emotionally shaken, with these feelings only amplified by the lack ofcare and mistreatment at the hands
16   of Gold Mantis.

17           145.    Mr. Wang Youli's physical suffering, the fear ofgovernment authorities, concern ofhis
18   growing debts from not earning income, and frastration of being unable to obtain adequate medical
19   attention caused him an acute degree of anxiety and distress.
20           146.    Gold Mantis failed to provide appropriate equipment or manpower for the safe movement
21   of this material.
22           147.    Despite Mr.Li's inability to work after his injury,he was not provided with compensation
23   for his lost wages. He also was not provided with any compensation or his injuries.
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 1                                               Qingchun Xu
 2           148.   Mr. Xu began working for Gold Mantis on or around February 14,2017.
 3           149.   On several occasions, Mr. Xu was required to work a shift lasting a full day and then
 4 return to work roughly eight hours later.
 5           150.   On or about March 30,2017, Mr. Xu was working at the Casino Worksite moving very
 6 heavy pieces ofstone.
 7           151.   Mr. Xu and another worker were using ropes to lift a piece of stone up the stairs.
 8 However,the stone was too heavy and fell onto Xu's left lower leg, inverting his ankle, and causing a
 9 sprain.
10           152.   Mr. Xu was in a tremendous amount of pain and could not walk on his left ankle.
11           153.   Gold Mantis refused to take Mr. Xu to the emergency room,call for emergency medical
12 assistance, or arrange any other form of medical attention.
13           154.   Mr. Xu was never provided any medical assistance by or through Gold Mantis.
14           155.   Mr. Xu went to a small medical clinic on his own and paid for the costs himself.
15           156.   As a result ofhis injuries, Mr. Xu has suffered severe pain, a long and painful recovery
16 and rehabilitation process,and still suffers from diminished use ofhis left ankle. After the accident, Mr.
12 Xu was emotionally shaken, with these feelings only amplified by the lack ofcare and mistreatment at
1^ the hands of Gold Mantis.
19           157. Mr. Xu's physical pain, the fear of being arrested or deported, concern of his growing
20 dehts from not earning income,and despair ofbeing unable to obtain adequate medical attention caused
21 him an acute degree of anxiety and distress.
22         158. Gold Mantis did not provide the appropriate equipment or manpower for the safe
25   movement ofthis material.
24           159. Despite Mr. Xu's inability to work after his injury, he was not provided with
25 compensation for his lost wages. Gold Mantis also never compensated Mr.Xu for his injuries,and never
2^ reimbursed him for the money he spent on his own medical care.
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 1                                                  Duxin Yang
2              160.   Mr. Yang began working for Gold Mantis on or around December 3,2016.
3              161.   In or around mid-December,2016, Mr.Yang was at the Casino Worksite moving heavy
4    pieces of plaster. While moving a large piece along the floor, it fell over and crushed the middle finger
5    on his right hand. The finger swelled immediately and was bleeding badly. Mr. Yang was in a
6    tremendous amount of pain and could not use his right hand.
7              162.   Gold Mantis personnel was on the site when Mr.Yang was injured and was aware ofhis
8    injury.
9              163.   Gold Mantis refused to take Mr.Yang to the emergencyroom,call for emergency medical
10   assistance, or arrange any other form of medical attention.
11             164.   Mr. Yang was never provided any medical assistance by or through Gold Mantis.
12             165.   Several weeks after the accident, Mr. Yang went to CHC because he was still suffering
13   from his badly injured finger.
14             166.   As a result ofhis injuries, Mr.Yang has suffered severe pain,a long and painful recovery
15   and rehabilitation process, and still suffers from diminished use of his hand. After the accident, Mr.
16   Yang was emotionally shaken, with these feelings only amplified by the lack of care and mistreatment
17   at the hands of Gold Mantis.
18             167.   Mr. Yang's physical pain, the fear ofbeing arrested or deported, concern ofhis growing
19   debts from not earning income,and despair ofbeing unable to obtain adequate medical attention caused
20   him an acute degree of anxiety and distress.
21             168.   Gold Mantis did not provide the appropriate equipment or manpower for the safe
22   movement ofthe heavy pieces of plaster.
23             169.   Despite Mr. Yang's inability to work after his injury, he was not provided with
24   compensation for his lost wages.
25             170.   Gold Mantis also never compensated Mr. Yang for his injuries.
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 1                                Gold Mantis'failure to secure compensation
2           171.      Despite the fact that Gold Mantis was aware of Plaintiffs' injuries at the time they
 3 occurred, Gold Mantis did not follow the procedures required by law to record and report workplace
4 injuries, nor did Gold Mantis compensate workers for their injuries.
5           172.      The fact that Plaintiffs suffered injuries while working for Gold Mantis was published
6 in local newspapers in 2017.
 7          173.      When Plaintiffs asked Gold Mantis'lawyers about compensation for their work-related
 8 injuries while preparing to depart Saipan for China,they were told that a company representative would
9 meet them at the airport in China to discuss the matter. Nobody from the company met them in China
10 to discuss this.

11          174.      In late 2017, Plaintiffs' counsel sent letters to Gold Mantis'representative detailing the
12 injuries they suffered while employed by Gold Mantis, including the time, place, nature, and cause of
13 the injuries.
14          175. In response to the aforementioned letters. Gold Mantis responded by denying that
13 Plaintiffs were employees of Gold Mantis and stating that it would not settle Plaintiffs' injury claims.
16         176. In response to the aforementioned letters. Gold Mantis did not file any injury report or
17 take any other step towards securing compensation for Plaintiffs.
18

19                                        FIRST CAUSE OF ACTION
                                                  negligence


91
            177.      Plaintiffs repeat,re-allege,and incorporate herein by reference,each and every allegation
22
     contained in the preceding paragraphs.
            178.      Gold Mantis had a duty to Plaintiffs, both as its employees and/or as workers on its
94
     construction site, including but not limited to: ensuring a safe worksite, working environment, and
25
     working conditions;ensuring the use ofsafe work practices;and providing appropriate safety equipment
26
     and safety training.
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2           179.    Gold Mantis breached its duty to Plaintiffs by, amongst other things:
 3                  a.      Failing to provide a safe worksite and safe working conditions;
4                   b.      Failing to comply with federal government regulations concerning workplace
 5                          safety;
6                   c.      Failing to provide appropriate equipment to complete the assigned tasks;
 7                  d.      Failing to provide appropriate safety training;
8                   e.      Failing to provide appropriate protective equipment to workers;
9                   f.      Failing to purchase or arrange workers' compensation insurance;
10                  g.      Failing to report workers'injuries; and
11                  h.      Failing to respond appropriately to injuries.
12          180.    The above actions or inactions by Gold Mantis were the direct and proximate cause of
13 the injuries and damages suffered by Plaintiffs, including but not limited to physical injuries, pain and
14 suffering, medical costs, future medical or other treatment, loss of wages, and other damages.
15          181.    Gold Mantis's conduct constitutes gross negligence, and/or a reckless and/or malicious
16 and/or willful, wanton disregard of Plaintiffs' rights, well-being, or safety.
17

18                                     SECOND CAUSE OF ACTION
j^                       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

            182.    Plaintiffs repeat,re-allege,and incorporate herein by reference,each and every allegation
21
     contained in the preceding paragraphs.
22
            183.    Rather than take all possible steps to ensure the safety of Plaintiffs and its other
23
     employees. Gold Mantis not only permitted unsafe conditions to persist but also took steps to prevent
24
     government and other authorities from detecting these unsafe conditions.
25
            184.    After each Plaintiffsuffered his injury. Gold Mantis refused to provide or arrange for the
26
     provision of appropriate medical attention to that Plaintiff.
27

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 1          185.    To the contrary, Gold Mantis affirmatively sought to prevent Plaintiffs from seeking
 2 medical attention through a variety ofthreats and intimidation tactics.
 3          186.    When Plaintiffs needed time to recover from their injuries, Gold Mantis refused to
4 provide them with paid time off.
 5          187.    Gold Mantis did not compensate Plaintiffs in any way for the injuries sustained while at
6 work or other costs or damages stemming from those injuries.
 7          188.    Gold Mantis' conduct was extreme and outrageous.
 8          189.    Gold Mantis intentionally,recklessly,and/or knew or should have known its actions were
 9 certain or substantially likely to cause, worsen, or prevent from improving physical harm and/or severe
10 emotional distress to Plaintiffs,including but not limited to fright, horror, grief, anger, disappointment,
11 worry, despair, and helplessness of an acute and severe nature.
12          190.    Gold Mantis's conduct constitutes gross negligence, and/or a reckless and/or malicious
13 and/or willful, wanton disregard ofPlaintiffs' rights, well-being, or safety.
14

15                                         PRAYER FOR RELIEF
16

17           191. WHEREFORE,Plaintiffs pray forjudgment against Defendant as follows:
18          (1)     General damages in an amount to be proven at trial;
19          (2)     Special damages in an amount to be proven at trial;
20          (3)     Punitive damages in an amount to be proven at trial;
21          (4)     Costs ofthis suit; and
22          (5)     Such other and further relief as the court may deem just and proper.
23

24                                      DEMAND FOR JURY TRIAL
23           192. Plaintiffs hereby demand a trial by jury.
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 1   DATED this /7         day of December, 2018.
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3                                         BERLINE & ASSOCIATES, LLC
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